Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 1 of 6              PageID #: 7221




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                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF HAWAI'I

    E.R.K., by his legal guardian R.K.,            Case No. 10-00436 SOM-KSC
    R.T.D., through his parents R.D. and
    M.D.; HAWAI'I DISABILITY                       ORDER APPROVING
    RIGHTS CENTER, in a representative             SETTLEMENT FOR CLASS
    capacity on behalf of its clients and all      MEMBERS
    others similarly situated,

                 Plaintiffs,

          vs.

    DEPARTMENT OF EDUCATION,
    State ofHawai'i,

                 Defendant.
Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 2 of 6                 PageID #: 7222




                     ORDER APPROVING SETTLEMENT FOR
                             CLASS MEMBERS

                WHEREAS: This class action was filed, pursuant to FRCP 23(b )(2)

   in 2010 seeking to establish that the Defendant DEPARTMENT OF

   EDUCATION, State ofHawai'i ("HIDOE") was violating federal law by failing to

   provide special education and related services to students who were eligible for

   special education and related services until the later of (a) the date they earned a

   regular diploma, or, (b) age 22.

                WHEREAS: The Ninth Circuit Court of Appeals determined that the

   Class Members had valid claims under the Individuals with Disabilities Education

   Act ("IDEA") and this Court subsequently determined that the Class Members are

   entitled to compensatory education to compensate for the HIDOE's failure to

   provide appropriate special education and related services until the Class Member

   earned a regular diploma or reached the age of 22.

                WHEREAS: Under the supervision of United States Magistrate Judge

   Kevin S. C. Chang the parties have investigated and discussed, at length, among

   other things, (a) the circumstances and needs of the Class Members, (b) the interest

   of Class Members in obtaining compensatory education, (c) the array of services

   needed by the eligible Class Members, (d) the cost of the needed services, (e) the

   array of potential service providers, (f) the potential methods for allocating and



                                              2
Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 3 of 6                 PageID #: 7223




    delivering the compensatory education services, and (g) the timeline for delivery of

    compensatory education services to the Class Members.

                 WHEREAS: Pursuant to the Settlement Agreement attached hereto as

    Exhibit 1, the IBDOE has agreed to provide funds for delivery of services,

    including assistive technology, as defined in the Settlement Agreement, to the

    Class Members under the oversight of a Settlement Administrator, as described in

    Exhibit A to the Settlement Agreement.

                 WHEREAS: Pursuant to the Settlement Agreement, HIDOE will

    provide $10,250,000 to (a) fund the required services, as defined in the Settlement

    Agreement; (b) pay legal fees and costs owed to Plaintiffs' counsel (Alston Hunt

    Floyd & Ing and the Hawai'i Disability Rights Center ("Class Counsel")) for their

    work on this litigation up to the date on which this settlement is approved; (c) the

    fees and costs incurred by the Settlement Administrator in the course of overseeing

    and directing the delivery of services, as defined in the Settlement Agreement, to

    the Class Members; and (d) fees and costs incurred by counsel and as approved by

    the Court, for the class in connection with (1) the delivery of services, as defined in

    the Settlement Agreement, to the Class Members, and (2) the resolution of disputes

    regarding the delivery of the benefits of the settlement. The Fund will be deposited

    by the IBDOE in two installments; as stated below, the first will be $8,750,000 to

    be funded in 2017 and the second will be $1,500,000 to be funded in 2018.


                                              3
Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 4 of 6                PageID #: 7224




                 WHEREA S: The Court has determined that the settlement fund

    should be allocated as follows: (a) $8,200,000 plus all interest earned thereon for

    services, as defmed by the Settlement Agreement, provided to the Class Members

    (the "Fund"); (b) $1,500,000 for legal services provided by and costs incurred by

    Class Counsel through the date on which this settlement is approved; (c) up to

    $300,000 to the Settlement Administr ator for his/her fees, costs and administrative

    support; and (d) up to $250,000 to Class Counsel for future services that they will

    provide to the Class Members in connection with the administration of the

    settlement and delivery of services (all to be paid pursuant to court-approved fee

    applications). Provided, however, for good cause and subject to court approval,

    the Settlement Administr ator may utilize additional funds from the Fund for

    administrative services that are needed to assure the effective delivery of services,

    as defmed in the Settlement Agreement, to the Class Members. The amounts

    awarded from the Fund to Class Counsel for past and future work reflects the fact

    that size of the Fund was calculated by the Court and the Parties to include all fees

   which would be owed to Class Counsel under 42 U.S.C § 1988 or otherwise. No

    other fees will be claimed or paid out of the Fund and accrued interest.

                 WHEREA S: The parties agree that, except as provided by the

    Settlement Agreement, the "Specific Provisions" portion of the Settlement

   Agreemen t shall expire on December 31, 2020.


                                              4
Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 5 of 6                  PageID #: 7225




                 WHEREAS: The Settlement Administrator shall have until February

    28, 2021 to reconcile the Fund. Any balance remaining in the Fund at 12:00 a.m.

    on March 1, 2021, shall be returned to HIDOE.

                 And,

                 WHEREAS: Time is of the essence.

                 THEREFORE, it is hereby ORDERED (a) the HIDOE shall deposit

    $8,750,000 into the registry of the United States District Court within two (2)

    weeks of the Court's approval of the subject settlement and Class Counsel's

   provision of the information necessary to effectuate the deposit; (b) the HIDOE

    will deposit an additional $1,500,000 into the registry of the United States District

    Court within two (2) weeks of the Hawai'i legislature's approval of the subject

    attorneys' fees and costs; and (c) the Court will direct the disposition of that

    account for the effective administration of the settlement by (1) appointing the

    Settlement Administrator no later than December 15, 2017 and authorizing him/her

   to see to the delivery of appropriate services, as defmed in the Settlement

   Agreement, to the Class Members beginning promptly thereafter in accordance

    with the Settlement Administration Agreement attached hereto as Exhibit A to the

    Settlement Agreement; (2) directing distribution of the balance of the settlement

    fund into an interest-bearing trust account in a local FDIC-insured bank under the

    supervision of the Settlement Administrator and Court within two (2) weeks of the


                                               5
Case 1:10-cv-00436-SOM-RT Document 482 Filed 12/08/17 Page 6 of 6   PageID #: 7226




                                           December 8, 2017




                              /s/ Susan Oki Mollway
                              Susan Oki Mollway
                              United States District Judge
